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                    IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                      )
                                              )               1:19cr59
               v.                             )
                                              )
DANIEL EVERETTE HALE                          )

                                      NOTICE OF HEARING

       PLEASE TAKE NOTICE that on Friday, September 13, 2019, at 9:00 a.m., the

government will move the Court to set a deadline no later than September 30, 2019, for the

defense to notify the government under Section 5 of the Classified Information Procedures Act

("CIPA", 18 U.S.C. App. § 3) of any classified information that it expects to disclose in

connection with the trial in the above-captioned matter.

       On July 19, 2019, at the status hearing on this matter, this Court set a motions hearing

date of October 18, 2019, to ensure that motions could be resolved well in advance of trial, and

that the parties could prepare for trial without the uncertainty of pending motions. In light of the

motions hearing date of October 18, 2019, this Court directed that all motions be filed by

September 16, 2019. Responses to such motions would be filed by September 30, 2019, and

replies to such responses would be filed by October 7, 2019.

       On September 3, 2019, defense counsel informed government counsel that the defense

understood the motions filing date to be inapplicable to its notices under CIPA, and that the

defense understood that its deadline for filing its notices under CIPA to be November 16, 2019.
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       Section 5 of CIPA provides:

               If a defendant reasonably expects to disclose or to cause the
               disclosure of classified information in any manner in connection
               with any trial or pretrial proceeding involving the criminal
               prosecution of such defendant, the defendant shall, within the time
               specified by the court or, where no time is specified, within thirty
               days prior to trial, notify the attorney for the United States and the
               court in writing.

(emphasis added). In this case, the defense apparently does not share the government's

understanding that September 16, 2019, was specified by the Court as the time by which the

defense's CIPA notices were required to be filed. The defense represents that, pursuant to

Section 5 of CIPA, its only deadline for filing its CIPA notices is November 16, 2019.

         If the defense’s CIPA notices are not filed until that date, then the government’s

responses to such notices are likely not to be filed until November 30, 2019, and any reply to

such responses are likely not be filed until December 9, 2019. As a result, CIPA litigation is

either going to remain unresolved until the very brink of the trial scheduled for December 16,

2019, or cause the trial to be postponed.




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       The defense has had significant time to consider its CIPA filings. To the extent that the

deadline of September 16, 2019, does not apply to its CIPA filings, the Court should require the

defense to file such pleadings no later than September 30, 2019.

                                                    Respectfully submitted,

                                                    G. Zachary Terwilliger
                                                    United States Attorney


                                                    ________/s_________________
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                                    CERTIFICATE OF SERVICE

       I hereby certify that on the 5th day of September 2019, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing

(NEF) to all attorneys of record.


                                             ____________/s______________
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